       Case 21-30526              Doc 2       Filed 09/17/21 Entered 09/17/21 15:34:34                     Desc Notice of
                                                   Deficiency Page 1 of 1

                                            UNITED STATES BANKRUPTCY COURT
                                               Western District of North Carolina
                                                      Charlotte Division

                                                         Case No. 21−30526
                                                             Chapter 7




In Re: Debtor(s) (name(s) used in the last 8 years, including married, maiden, trade, and address):
      Getchell Development Co.
      400 Gilead Road #1965
      Huntersville, NC 28078
      Social Security No.:
      Debtor EIN:
      26−1576943




                                      NOTICE OF DEFICIENT FILING

NOTICE IS HEREBY GIVEN that the petition filed on behalf of the above−referenced debtor(s) did not include
the following items:

         Form 206 − Non−Individual Summary of Schedules
         Schedule A/B − List Property post 12−1
         Schedule D − Secured Claims
         Schedule E/F − Claims post 12−1
         Schedule G − Executory Contracts
         Schedule H − Co−Debtors
         Declaration Concerning Schedules
         Statement of Financial Affairs
         Fee Disclosure Statement
         Corporate − Partnership Resolution



FURTHER NOTICE IS GIVEN that if the above−referenced items are not filed with the Clerk of this Court within
the time set forth in the Federal Rules of Bankruptcy Procedure and the Local Bankruptcy Rules of this Court, this
case will be subject to dismissal by the Court.



Dated: September 17, 2021                                                                     Steven T. Salata
                                                                                              Clerk of Court


Electronically filed and signed (9/17/21)
